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13
     Energia Logistics Ltd. and Energia Overseas LLC

14
                        UNITED STATES DISTRICT COURT
15
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
16

17
     THE BOEING COMPANY, et al.,              No. CV 13-00730 AB (AJWx)
18
                       Plaintiffs,            UPDATED COMBINED INDEX
19                                            OF (1) DEPOSITION TESTIMONY
                vs.                           DESIGNATED BY DEFENDANTS
20                                            ENERGIA LOGISTICS LTD. AND
     KB YUZHNOYE, et al.,                     ENERGIA OVERSEAS LLC FOR
21                                            USE AT TRIAL; (2) PLAINTIFFS’
                       Defendants.            OBJECTIONS THERETO; (3)
22                                            PLAINTIFFS’ COUNTER-
                                              DESIGNATIONS; AND (4)
23                                            OBJECTIONS TO PLAINTIFFS’
                                              COUNTER-DESIGNATIONS
24
                                              Trial Date:   November 10, 2015
25                                            Time:         8:30 a.m.
                                              Place:        Courtroom 4
26                                            Judge:        Hon. André Birotte

27                                            Complaint Filed: February 1, 2013

28
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 1         Pursuant to the Court's direction at the trial proceedings on November 12,
 2   2015, defendants Energia Logistics Ltd. and Energia Overseas LLC (the "U.S.
 3   Subsidiaries") hereby submit an updated index of (a) the deposition testimony the
 4   U.S. Subsidiaries have designated for use at trial; (b) Plaintiffs' objections, if any,
 5   to that designated testimony; (c) the deposition testimony Plaintiffs have counter-
 6   designated from those transcripts; and (d) the U.S. Subsidiaries' objections, if any,
 7   to Plaintiffs' counter-designations.
 8         The parties have substantially narrowed their objections to the designated
 9   and counter-designated testimony. The remaining objections are shown in the
10   second column of the following index. Per the Court's direction, there is also a
11   third column entitled "Sustained/Overruled," for the Court to rule on the remaining
12   objections.
13

14      Deposition           Plaintiffs’ Objections to             Sustained/Overruled
       Testimony of        Testimony Designated by the
15    James Albaugh              U.S. Subsidiaries
16   1:1-25 (cover)
17   5:2-7:16
18   8:3-9:13
19   9:16-17:14
20   17:19-21:6
21   21:10-23:20
22   23:24-25:7
23   25:11-33:8
24   29:1-31:17
25   31:25-32:5
26   32:17-33:6
27   37:23-42:12
28

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 1     Deposition       Plaintiffs’ Objections to      Sustained/Overruled
      Testimony of    Testimony Designated by the
 2   James Albaugh          U.S. Subsidiaries
 3   42:25-44:15
 4   45:15-23
 5   46:8-16
 6   47:8-10
 7   47:25-60:22
 8   62:11-20
 9   63:2-76:7
10   76:19-24
11   77:8-79:17
12   80:4-83:11
13   84:6-14
14   85:18-102:25
15   103:10-120:10
16   120:13-146:14
17   147:7-18

18   148:21-166:9

19   166:14-170:14

20   170:16-183:25

21   184:20-185:20

22
     186:1-2

23
     186:9-192:22

24
     193:9-200:21

25
     200:24-25

26
     201:3-253:14

27
     254:3-262:15

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     262:23-276:16
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 1     Deposition           Plaintiffs’ Objections to       Sustained/Overruled
      Testimony of        Testimony Designated by the
 2   James Albaugh              U.S. Subsidiaries
 3   277:3-308:3
 4   302:23-305:14
 5   308:11-309:9
 6   309:18-322:18
 7   318:11-319:1
 8   323:1-325:17
 9   325:19-331:16
10   Signature page
11   334:1-22
     (certificate)
12

13

14

15         Deposition
          Testimony of
16                              The U.S. Subsidiaries’
         James Albaugh
                                Objections to Plaintiffs’
17
           (Plaintiffs’                                      Sustained/Overruled
                                 Counter-Designations
            Counter
18        Designations)
19    79:18-80:3
20    84:15-85:17
21

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 1                       Plaintiffs’ Objections to
       Deposition
                                Testimony
      Testimony of
 2                       Designated by The U.S.        Sustained/Overruled
     Patrick Enyeart
                               Subsidiaries
 3
     1:1-25 (cover)
 4
     10:4-11:23
 5
     12:9-13:15
 6
     14:1-12
 7
     14:16-15:13
 8
     15:18-17:21
 9
     19:19-20:10
10
     21:7-22:19
11
     26:19-27:15
12
     30:1-5
13
     32:8-17
14
     32:25-33:2
15
     33:12-22
16
     34:17-25
17
     36:14-19
18
     37:7-16
19
     38:8-39:13
20
     39:25-40:21
21
     40:25-41:11
22
     42:12-43:2
23
     45:5-15
24
     46:7-17
25
     50:4-51:7
26
     52:14-22
27
     54:17-25
28

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 1                       Plaintiffs’ Objections to
       Deposition
                                Testimony
      Testimony of
 2                       Designated by The U.S.        Sustained/Overruled
     Patrick Enyeart
                               Subsidiaries
 3
     55:13-56:22
 4
     59:8-60:17
 5
     61:2-5
 6
     62:3-63:6
 7
     64:3-13
 8
     64:25-65:11
 9
     75:7-12
10
     78:13-79:10
11
     93:24-94:20
12
     98:14-24
13
     99:6-11
14
     109:14-18
15
     109:23-25
16
     115:20-116:4
17
     117:10-17
18
     118:3-10
19
     132:10-22
20
     133:24-134:19
21
     135:20-23
22
     137:8-16
23
     142:21-143:11
24
     145:1-8
25
     150:4-16
26
     150:25-151:13
27
     154:24-155:1
28

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 1                       Plaintiffs’ Objections to
       Deposition
                                Testimony
      Testimony of
 2                       Designated by The U.S.        Sustained/Overruled
     Patrick Enyeart
                               Subsidiaries
 3
     156:5-166:25
 4
     Signature Page
 5
     168:1-25
 6   (certificate)
 7

 8

 9
        Deposition
10
       Testimony of
                          The U.S. Subsidiaries’
      Patrick Enyeart                                   Sustained/Overruled
11                        Objections to Plaintiffs’
        (Plaintiffs’
                           Counter-Designations
12       Counter
       Designations)
13
     20:11-14
14
     22:20-23:3
15
     23:12-22
16
     36:2-13
17
     39:14-25
18
     41:12-42:11
19
     65:12-20
20
     76:15-77:11
21
     100:24-103:21
22
     122:5-123:5
23
     123:17-24
24
     137:17-19
25
     143:12-20
26
     150:17-24
27
     155:1-5
28

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 3
       Deposition
 4                       Plaintiffs’ Objections to
     Testimony of Ira
                                Testimony
           Schey                                       Sustained/Overruled
 5                       Designated by the U.S.
       10-30-2013
                               Subsidiaries
 6       [Schey I]
 7   8:7-12:3
 8   14:14-24
 9   17:7-21

10   35:17-37:10

11   37:17-39:9

12   39:14-40:12

13
     41:7-42:17

14
     44:20-25

15
     46:20-47:14

16
     48:6-9

17
     48:14-49:14

18
     50:2-10

19
     51:8-23

20
     54:5-12

21
     54:20-55:1

22
     55:2-24
     57:5-14
23
     58:4-15
24
     59:10-60:3
25
     60:4-9
26
     60:16-61:5
27
     61:6-19
28

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       Deposition
 1                       Plaintiffs’ Objections to
     Testimony of Ira
                                Testimony
 2         Schey                                       Sustained/Overruled
                         Designated by the U.S.
       10-30-2013
 3                             Subsidiaries
         [Schey I]
 4   61:20-62:23
 5   62:24-64:24
 6   65:13-18
 7   67:19-23
 8   70:25-72:12
 9
     73:2-74:8
10
     74:9-75:3
11
     75:7-16
12
     75:23-76:3
13
     76:4-16
14
     77:2-8
15
     77:13-78:14
16
     85:19-86:22
17
     87:23-89:24
18
     91:15-23
19
     94:24-95:11
20
     96:15-97:12
21
     97:13-17
22
     97:18-98:7
23
     98:8-11
24
     98:18-99:18
25
     99:19-100:7
26
     100:18-101:13
27
     102:6-19
28

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                                     #:49573



       Deposition
 1                        Plaintiffs’ Objections to
     Testimony of Ira
                                 Testimony
 2         Schey                                         Sustained/Overruled
                          Designated by the U.S.
       10-30-2013
 3                              Subsidiaries
         [Schey I]
 4   102:20-106:22
 5   107:19-108:25
 6   109:13-22
 7   110:2-14
 8   111:7-112:15
 9   113:3-5
10   113:16-114:14
11   115:17-116:20
12   117:9-118:18
13   121:5-123:6
14   123:19-124:7
15   124:8-125:1
16   126:6-15
17   127:1-7
18   127:17-20
19   129:9-19
20   135:12-139:14
21   139:22-140:8
22   140:21-143:6
23   144:16-146:10
24   146:18-148-14
25   149:11-151:14
26   151:16-152:11
27
     153:18-155:4
28

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                                     #:49574



       Deposition
 1                        Plaintiffs’ Objections to
     Testimony of Ira
                                 Testimony
 2         Schey                                         Sustained/Overruled
                          Designated by the U.S.
       10-30-2013
 3                              Subsidiaries
         [Schey I]
 4   157:8-15
 5   158:17-18
 6   159:21-160:7
 7   160:8-161:22
 8   162:3-163:2
 9   165:8-12
10   167:5-9
11   169:9-25
12   172:3-173:13
13   174:12-16
14   175:4-22
15   176:10-178:13
16   179:7-9
17   182:1-183:11
18   184:2-5
19   184:23-185:3
20   185:13-19
21   186:3-188:6
22   188:7-190:19
23   191:3-192:4
24   192:6-10
25   192:11-194:3
26   194:10-25
27   195:21-196:22
28

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       Deposition
 1                        Plaintiffs’ Objections to
     Testimony of Ira
                                 Testimony
 2         Schey                                         Sustained/Overruled
                          Designated by the U.S.
       10-30-2013
 3                              Subsidiaries
         [Schey I]
 4   199:4-7
 5   200:2-10
 6   200:11-201:5
 7   202:14-203:9
 8   205:7-206:2
 9
     210:11-21
10
     210:22-212:23
11
     214:2-22
12
     214:25-215:4
13
     217:17-218:18
14
     218:19-23
15
     222:22-23
16
     223:18-224:16
17
     224:24-225:18
18
     225:19-24
19
     226:11-24
20
     227:9-228:1
21
     229:2-230:5
22
     232:14-233:3
23
     234:20-235:12
24
     235:13-236:10
25
     237:4-20
26
     237:25-238:8
27
     238:9-18
28

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       Deposition
 1                         Plaintiffs’ Objections to
     Testimony of Ira
                                  Testimony
 2         Schey                                          Sustained/Overruled
                           Designated by the U.S.
       10-30-2013
 3                               Subsidiaries
         [Schey I]
 4   239:16-240:12
 5   241:8-20
 6   242:3-14
 7   250:23-251:10
 8

 9
          Deposition
10     Testimony of Ira
            Schey
11                            The U.S. Subsidiaries’
      10-30-2013 [Schey
                                  Objections to
               I]                                         Sustained/Overruled
12                             Plaintiffs’ Counter-
          (Plaintiffs’
13
                                  Designations
           Counter
        Designations)
14

15                        Objection: Lacks personal
      17:14-19:13
16
                          knowledge (FRE 602)
                          Objections: Lacks foundation
17
                          (FRE 901); hearsay (FRE 802);
      20:7-20:25
18                        lacks personal knowledge (FRE
                          602)
19
                          Objections: Lacks foundation
20                        (FRE 901); hearsay (FRE 802);
      21:5-21:10
                          lacks personal knowledge (FRE
21                        602)
22    24:10-24:19
23    34:6-34:12
24    36:8-36:20
25    37:25-38:12
26    38:22-40:12
27    43:7-9
28

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 1        Deposition
       Testimony of Ira
 2          Schey
                             The U.S. Subsidiaries’
      10-30-2013 [Schey
 3                               Objections to
               I]                                        Sustained/Overruled
                              Plaintiffs’ Counter-
 4        (Plaintiffs’
                                 Designations
           Counter
 5      Designations)
 6
      43:15-18
 7
      46:5-13
 8
      49:1-49:24
 9
      53:2-53:15
10
      54:5-55:1
11
      55:14-58:3
12
      59:1-61:8
13
      62:18-62:19
14
      79:24-80:5
15
      83:4-9
16
      86:9-87:6
17
      87:23-88:7
18
      97:18-25
19
      98:18-99:13
20
      100:18-101:13
21
      102:20-104:4
22
      104:5-105:21
23
      106:17-22
24
      112:1-6
25
      113:24-116:11
26
      116:22-117:8
27
      117:12-118:11
28

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 1        Deposition
       Testimony of Ira
 2          Schey
                             The U.S. Subsidiaries’
      10-30-2013 [Schey
 3                               Objections to
               I]                                        Sustained/Overruled
                              Plaintiffs’ Counter-
 4        (Plaintiffs’
                                 Designations
           Counter
 5      Designations)
 6
      121:5-20
 7
      122:18-23
 8
      124:15-20
 9
      127:21-24
10
      130:14-131:8
11
      132:7-133:15
12
      132:21-133:1
13
      133:8-22
14
      134:3-15
15
      134:24-137:20
16
      138:8-139:14
17
      139:23-140:6
18
      140:21-141:2
19
      141:14-143:6
20
      145:3-6
21
      145:11-20
22
      146:25-147:7
23
      147:19-24
24
      148:3-14
25
      149:7-9
26
      149:11-150:22
27
      161:15-22
28

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 1        Deposition
       Testimony of Ira
 2          Schey
                             The U.S. Subsidiaries’
      10-30-2013 [Schey
 3                               Objections to
               I]                                        Sustained/Overruled
                              Plaintiffs’ Counter-
 4        (Plaintiffs’
                                 Designations
           Counter
 5      Designations)
 6
      163:4-9
 7
      169:9-25
 8
      172:7-10
 9
      176:22-177:24
10
      178:15-19
11
      179:10-17
12
      181:10-21
13
      182:15-21
14
      184:6-22
15
      188:23-189:8
16
      189:19-190:3
17
      191:11-21
18
      194:4-195:19
19
      196:23-197:2
20
      199:1-25
21
      200:9-201:9
22
      203:14-21
23
      205:7-206:2
24
      209:25-210:10
25
      211:2-7
26
      211:11-14
27

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 1        Deposition
       Testimony of Ira
 2          Schey
                              The U.S. Subsidiaries’
      10-30-2013 [Schey
 3                                Objections to
               I]                                          Sustained/Overruled
                               Plaintiffs’ Counter-
 4        (Plaintiffs’
                                  Designations
           Counter
 5      Designations)
 6
                          Objections:
 7                        212:25-214:1 -- Lacks personal
      212:19-214:1
 8
                          knowledge (FRE 602); lacks
                          foundation (FRE 901)
 9
      216:10-218:18
10
      219:16-25
11
      225:14-225:18
12
      227:23-228:12
13
      233:25-234:19
14
      235:21-236:10
15
      237:4-20
16    239:23-240:8
17    240:21-241:7
18    242:3-14
19    242:22-244:14
20    244:17-250:12
21

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 1
        Deposition
 2                         Plaintiffs’ Objections to
     Testimony of Ira
                            Designations by U.S.
      Schey 11-11-14                                       Sustained/Overruled
 3                               Subsidiaries
        [Schey II]
 4
     257:1 – 377:14
 5
     379:14 – 394:13
 6

 7
     397:22-400:11
 8
     401:21-449:9
 9
     450:6-20
10
     451:1 – 499:11
11
     500:9 – 506:25
12
     514:11 – 531:25
13

14
     533:17-22
15
     538:7-539:7
16
     540:3-547:23
17
     550:4-551:15
18
     578:8-584:25
19
     590:1-25
20

21
          Plaintiffs’
22        Counter-
23
        Designations         Energia Subsidiaries’
       from Ira Schey             Objections to
24         11-11-14     Plaintiffs’ Counter-Designations   Sustained/Overruled
          [Schey II]
25

26   308:6 – 310:5
27   315:19 – 318:17
28

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 1       Plaintiffs’
         Counter-
 2     Designations         Energia Subsidiaries’
      from Ira Schey             Objections to
 3
          11-11-14     Plaintiffs’ Counter-Designations       Sustained/Overruled
 4       [Schey II]
 5
     319:10 – 320:9
 6
     369:9 – 370:23
 7
     388:2 – 388: 9
 8
     389:9 – 390:21
 9
     392:11-14
10
     393:20 – 395:13
11
     430:20 – 431:11
12
     443:1 – 450:8
13
     460:8 – 461:16
14
     463:9 – 464:8
15
     469:23 – 471:3
16
     475:19 – 479:12
17
     478:7 – 11
18
     482:3 – 483:3
19
     496:13 – 497:7
20
     506:12 – 507:8
21
     508:25 – 509:10   Object to the extent that Plaintiffs
22
                       counter-designation consisted of
                       neither testimony nor objections,
23                     but consists of irrelevant colloquy
                       of counsel.
24
     510:8 – 511:5     Object to the extent that Plaintiffs
25                     counter-designation consisted of
                       neither testimony nor objections,
26
                       but consists of irrelevant colloquy
27                     of counsel.
28

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 1       Plaintiffs’
         Counter-
 2     Designations          Energia Subsidiaries’
      from Ira Schey              Objections to
 3
          11-11-14      Plaintiffs’ Counter-Designations   Sustained/Overruled
 4       [Schey II]
 5
     550:4 – 551:15
 6

 7
        Deposition
 8                         Plaintiffs’ Objections to
     Testimony of Ira
                            Designations by U.S.
 9    Schey 03-25-15                                       Sustained/Overruled
                                 Subsidiaries
        [Schey III]
10
     1:1 – 2:20
11
     3:1 – 4:5
12
     5:1 – 34:11
13
     36:1 – 118:7
14
     119:20 – 133:9
15
     134:5 – 140:11
16
     144:1-22
17

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19
         Plaintiffs’
20       Counter-
                            The U.S. Subsidiaries’
       Designations                                        Sustained/Overruled
21                               Objections to
           from
                       Plaintiffs’ Counter-Designations
22
     Ira Schey 3-25-15
        [Schey III]
23
     28:22 – 32:4
24
     33:17-23
25
     69:25 – 71:14
26
     72:21 – 74:8
27
     76:25 – 77:14
28

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 1       Plaintiffs’
         Counter-
                            The U.S. Subsidiaries’
 2     Designations                                       Sustained/Overruled
                                 Objections to
           from
 3                     Plaintiffs’ Counter-Designations
     Ira Schey 3-25-15
 4      [Schey III]
 5
     79:2-22

 6
     85:3-86:6

 7
     133:23-134:3

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 1
          Deposition        Plaintiffs’ Objections to
 2       Testimony of     Testimony Cited by The U.S.    Sustained/Overruled
         Peter Sloane             Subsidiaries
 3
       1:1-25 (cover)
 4
       4:1-6:4
 5
       9:8-11:20
 6
       31:2-36:4
 7
       98:18-105:21
 8
       106:3-115:12
 9
       115:17-118:20
10
       118:23-141:21
11
       142:3-144:1
12
       144:23-25
13
       145:6-163:9
14
       163:13-165:20
15
       Signature page
16
       180:1-25
17     (certificate)
18

19
         Deposition
20      Testimony of
                            The U.S. Subsidiaries’
        Peter Sloane                                     Sustained/Overruled
21                          Objections to Plaintiffs’
         (Plaintiffs’
                             Counter Designations
22        Counter
        Designations)
23
      38:15-41:2
24
      41:23-43:18
25
      46:3-14
26

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 1       Deposition
        Testimony of
                            The U.S. Subsidiaries’
 2      Peter Sloane                                     Sustained/Overruled
                            Objections to Plaintiffs’
         (Plaintiffs’
 3                           Counter Designations
          Counter
 4      Designations)
 5
                        Objections:
                        62:14-25 - Lacks personal
      62:14-63:9
 6                      knowledge (FRE 602); lacks
                        foundation (FRE 901)
 7

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 1
       Deposition         Plaintiffs’ Objections to
 2    Testimony of        Testimony Designated by        Sustained/Overruled
     Robert Verbeck        The U.S. Subsidiaries
 3
     1:1-25 (cover)
 4
     9:4-10:22
 5
     13:9-23:2
 6
     119:13-120:1
 7
     137:7-19
 8
     149:10-164:15
 9
     164:21-166:3
10
     166:7-179:20
11
     181:18-194:19
12
     195:13-217:12
13
     217:22-235:15
14
     235:21-238:13
15
     238:23-247:2
16
     249:16-255:13
17
     255:18-258:18
18
     Signature page
19
     267:1-268:12
20   (certificate)
21

22
        Deposition
       Testimony of
                          Plaintiffs’ Objections to
23    Robert Verbeck                                     Sustained/Overruled
                          Testimony Designated by
        (Plaintiffs’
24                         The U.S. Subsidiaries
         Counter
25
       Designations)
     49:8-12
26
     82:9-20
27

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 1
        Deposition         Plaintiffs’ Objections to
 2     Testimony of      Testimony Designated by the
      Douglas Cooke            U.S. Subsidiaries
 3
     1:1-25 (cover)
 4
     2:1-14
 5
     4:2-12
 6
     11:11-13:2
 7
     29:24-37:22
 8
     48:6-63:3
 9
     66:3-69:3
10
     88:2-91:1
11
     91:20-101:16
12
     115:9-119:12
13
     138:15-142:17
14
     155:24-158:5
15
     168:6-172:17
16
     174:20-194:19     FRE 601 as to 176:2-179:24,
17                     189:17-193:17: Mr. Cooke is not
                       offering expert opinion regarding
18
                       the cost of Falcon or Minotaur
19                     launch services, and no
                       foundation was laid to establish
20                     that he has any personal
                       knowledge regarding the cost or
21
                       price of the specific launch
22                     services about which he was
                       questioned. On the contrary, Mr.
23                     Cooke testified that he was not
24
                       involved in preparing or
                       reviewing the NASA Inspector
25                     General Report (or the charts
                       contained therein) that was the
26                     subject of questioning.
27   195:25-202:13
28

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 1      Deposition          Plaintiffs’ Objections to
       Testimony of       Testimony Designated by the
 2    Douglas Cooke             U.S. Subsidiaries
 3   233:9-239:21
 4   241:9-251:7
 5   255:16-256:4
 6   Signature page
 7   268:1-23
     (certificate)
 8

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10         Deposition
          Testimony of
                               The U.S. Subsidiaries’
11       Douglas Cooke
                               Objections to Plaintiffs’
           (Plaintiff’s                                    Sustained/Overruled
12                              Counter Designations
            Counter
13       Designations)
14
      66:15-67:13

15
      102:14-104:15

16
      104:7-15

17
      134:17-25

18
      153:4-155:5

19

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 1       Deposition
        Testimony of    Plaintiffs’ Objections to Testimony
 2        Richard       Designated by the U.S. Subsidiaries Sustained/Overruled
         McKinney
 3

 4
      1:1-25 (cover)

 5    2:1-14
 6
      4:2-11
 7

 8    4:23-5:11
 9
      6:1-6
10
      7:22-9:5
11

12    10:20-24
13
      14:5-8
14
      16:3-17:14
15

16    19:25-21:15
17
      21:19-25
18

19
      24:3-26:20

20    28:8-32:17
21
      35:2-19
22

23    37:15-38:10
24
      38:25-39:6
25
      41:14-20
26

27    42:23-43:9
28

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 1       Deposition
        Testimony of    Plaintiffs’ Objections to Testimony
 2        Richard       Designated by the U.S. Subsidiaries Sustained/Overruled
         McKinney
 3

 4
      57:18-21

 5    60:2-8
 6
      60:10-67:19
 7

 8    77:24-78:16
 9
      82:15-83:3
10
      85:2-8
11

12    106:21-108:3
13
      110:16-20
14
      117:24-118:4
15

16    118:9-16
17
      118:19-120:7
18

19
      122:23-123:4

20    126:17-128:5
21
      131:10-17
22

23    132:7-14
24
      135:5-138:8
25
      140:6-11
26

27    141:24-144:19
28

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 1       Deposition
        Testimony of    Plaintiffs’ Objections to Testimony
 2        Richard       Designated by the U.S. Subsidiaries Sustained/Overruled
         McKinney
 3

 4
      146:8-147:25

 5    148:14-150:19
 6
      154:25-159:14
 7

 8    168:11-25
 9
      197:20-199:13
10
      201:7-21
11
                        FRE 801, 802 (Hearsay) as to 209:8-
12
                        15/Misleading/Assumes Facts Not In
13                      Evidence as 209:8-15: Counsel’s
                        assertion that Lockheed purportedly
14                      made a “very specific allegation” that
15
                        Mr. McKinney and Ms. Druyun
                        passed confidential pricing
16    203:4-212:20      information to Boeing in connection
                        with the EELV program contains
17                      multiple levels of hearsay
18
                        (inadmissible for the truth of the
                        matter asserted). Moreover,
19                      Counsel’s questioning was misleading
                        and assumed facts not in evidence.
20

21                      FRE 801, 802 (Hearsay)/Assumes
                        Facts Not In Evidence/Calls for
22                      Speculation/Misleading/and
23
                        Argumentative as to 209:23-212:20:
                        Counsel’s assertion that Lockheed
24                      believed Mr. McKinney gave Boeing
      213:14-218:15
                        preferential treatment contains
25                      multiple levels of hearsay
26
                        (inadmissible for the truth of the
                        matter asserted). Moreover, counsel’s
27                      questioning was conducted in a
                        misleading and argumentative manner
28

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 1       Deposition
        Testimony of    Plaintiffs’ Objections to Testimony
 2        Richard       Designated by the U.S. Subsidiaries Sustained/Overruled
         McKinney
 3
                        and assumed facts not in evidence.
 4

 5    221:4-226:25
 6
      228:1-16
 7

 8    229:24-232:3
 9
      234:7-235:3
10
      235:13-238:3
11

12    244:5-250:14
13
      250:24-251:4
14
                        FRE 602: Mr. McKinney is not
15                      offering expert opinion regarding the
                        cost of the EELV program and he
16
      251:5-252:25      testified that he was not familiar with
17                      the Selected Acquisition Report that
                        is the subject of this questioning. See,
18                      e.g. McKinney Tr. 244:5-20.
19
                        FRE 602: Mr. McKinney is not
20                      offering expert opinion regarding the
                        cost of the EELV program and he
21
      253:17-256:9      testified that he was not familiar with
22                      the Selected Acquisition Report that
                        is the subject of this questioning. See,
23                      e.g. McKinney Tr. 244:5-20.
24
      258:20-259:22
25

26    264:14-265:3
27
      273:13-274:16
28

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 1       Deposition
        Testimony of    Plaintiffs’ Objections to Testimony
 2        Richard       Designated by the U.S. Subsidiaries Sustained/Overruled
         McKinney
 3
      355:24-360:3
 4
      362:7-20
 5
      376:19-378:14
 6

 7
      Signature page

 8    386:1-22
      (certificate)
 9

10

11

12       Deposition
        Testimony of
13        Richard           The U.S. Subsidiaries’
         McKinney           Objections to Plaintiffs’    Sustained/Overruled
14
         (Plaintiff’s        Counter Designations
15        Counter
        Designations)
16
      10:6-19
17
      38:11-24
18
      34:4-10
19
      41:21-42:22
20
      51:7-53:1
21
      71:1-73:6
22
      75:15-18
23
      105:18-106:-20
24
      108:4-13
25
      113:19-24
26
      116:25-117:23
27
      120:8-122:2
28

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 1       Deposition
        Testimony of
 2        Richard           The U.S. Subsidiaries’
         McKinney           Objections to Plaintiffs’    Sustained/Overruled
 3
         (Plaintiff’s        Counter Designations
 4        Counter
        Designations)
 5
      126:11-16
 6
      128:7-22
 7

 8
      131:18-132:6

 9
      132:15-23
      132:24-133:4
10
      139:7-23
11
      150:20-151:13
12
      151:23-152:24
13
      166:9-168:10
14
      200:8-201:6
15
      201:22-24
16
      258:3-18
17
      260:2-25
18
      261:11-18
19
      313:18-314:1
20
      315:16-23
21
      317:4-18
22
      321:18-322:3
23
      323:21-24
24
      347:6-351:17
25

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 1                       Deposition Testimony of Robert Peckham
 2
            Plaintiffs object to various passages of Mr. Peckham's deposition testimony
 3   on the grounds that it exceeds the "scope" of his Rule 30(b)(6) designation and/or
 4
     contains hearsay. Defendants are citing to this testimony to support their unclean
     hands defense because Mr. Peckham, Plaintiffs' Rule 30(b)(6) designee, testified
 5   that Boeing made no efforts to obtain government contracts for Sea Launch,
 6
     despite Plaintiffs' contentions that they assisted Sea Launch in doing so (Peckham
     Depo. at 214:16-215:6); that Boeing was not in favor of or interested in an
 7   integrated approach for government contracts with Sea Launch (id. at 217:12-
 8
     218:3); that Boeing blocked Sea Launch's efforts to meet with a Congressman to
     help Sea Launch with government contracts (id. at 218:16-219:22); and that
 9   Boeing's Expendable Launch Services ("ELS") division communicated its concern
10
     that "pushing" Sea Launch for government contracts would diminish the marked
     for Boeing's Delta program. (Id. at 226:4-19, 227:4-18.)
11          This testimony is within the scope of Plaintiffs' Rule 30(b)(6) designation
12   for Mr. Peckham, which included "Plaintiffs' marketing and sales of goods and
     services related to Sea Launch" (Dkt. # 847-1, p. 11, No. 13); "efforts to sell Sea
13   Launch services to the United States government and about discussions between or
14   among Plaintiffs, Sea Launch, and the other Sea Launch partners about such
     efforts" (id., pp. 11-12, No. 17); and the "provision of goods and services by
15   Boeing and its subsidiaries to Sea Launch," i.e., marketing services. (Id., p. 9, No.
16   10.)
            Additionally, Mr. Peckham's testimony is not inadmissible hearsay because
17   it Rule 30(b)(6) testimony that is based on Mr. Peckham's own personal knowledge
18   and/or is supported by party admissions by Boeing, including the Boeing division
     known as ELS. (Peckham Depo. at 214:16-215:6, 220:18-25, 221:4-11, 221:19-
19   24, 222:18-223:9, 226:4-19, 227:4-18) Plaintiffs' other Rule 30(b)(6) designee, Ira
20   Schey, confirmed that ELS is a Boeing division. (Schey Depo. Vol II [11/11/14] at
     497:14-24.)
21

22    Deposition
      Testimony       Plaintiffs’ Objections to Testimony        Sustained/Overruled
23    of Robert       Cited by the Energia Subsidiaries
24
      Peckham
     1:1-25
25
     7:1 – 8:22
26
     9:5-11
27
     9:19-22
28

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 1    Deposition
      Testimony      Plaintiffs’ Objections to Testimony   Sustained/Overruled
 2    of Robert      Cited by the Energia Subsidiaries
      Peckham
 3
     12:25 – 13:15
 4
     14:5-14:11
 5
     15:2-7
 6
     16:9-14
 7
     17:15-23
 8
     18:4-7
 9
     18:19-25
10
     20:1 - 21:13
11
     21:23 – 23:18
12
     27:12-22
13
     28:18 – 29:16
14
     30:2-5
15
     32:22 – 33:5
16
     33:7-15
17
     33:19-25
18
     34:2-17
19
     35:3 – 37:24
20
     45:23 – 46:1
21
     46:4
22
     46:14-22
23
     47:9-12
24
     47:15
25
     47:17-22
26
     48:14-17
27
     49:13-17
28

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 1    Deposition
      Testimony      Plaintiffs’ Objections to Testimony   Sustained/Overruled
 2    of Robert      Cited by the Energia Subsidiaries
      Peckham
 3
     49:19-21
 4
     49:23 – 50:17
 5
     51:2-16
 6
     52:11-15
 7
     53:11-12
 8
     53:14 – 54:11
 9
     54:25 – 55:6
10
     60:24 – 61:5
11
     61:8-10
12
     61:13-16
13
     61:18
14
     62:7-11
15
     62:13-17
16
     62:19-21
17
     63:14-15
18
     63:17-18
19
     64:8-15
20
     64:17-20
21
     65:14-23
22
     67:12-15
23
     67:17-20
24
     67:22-25
25
     68:2-7
26
     68:9
27
     68:14-20
28

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 1    Deposition
      Testimony       Plaintiffs’ Objections to Testimony      Sustained/Overruled
 2    of Robert       Cited by the Energia Subsidiaries
      Peckham
 3
     68:22-25
 4
     69:2
 5
     69:4-8
 6
     71:4-12
 7
     73:14 – 74:2
 8
     75:25 – 76:5
 9
     76:12-17
10
     77:13 – 78:5
11
     78:16-25
12
     79:13-22
13
     80:24 – 81:25
14
     82:2-21
15
     84:3-19
16
     85:25 – 86:8
17
     86:11-13
18
     86:23 – 87:4
19
     88:9-15
20
     89:17-20
21
     92:19 – 94:7
22
     95:24 – 96:5
23
     98:19-24
24
     99:5-16         Defendants’ designated only the first
25                   line of the witness’ answer and omitted
                     the remainder of the answer. Plaintiffs
26                   withdraw this objection if Defendants
27
                     designate the complete answer.
     100:9-5
28

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 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony      Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
     101:1-7
 4
     102:1-13
 5
     102:24 –
 6   103:8
 7   106:12 –
 8   107:1

 9
     108:1-14

10
     109:1-3

11
     109:12

12
     109:15-25

13
     110:10-20
     111:2-5
14
     111:14-18
15
     111:20 –
16
     112:2
17
     112:4-16
18
     112:22 –
19   114:5
20   117:4-9
21   117:22 –
     118:2
22
     118:6-10
23
     118:22 –      FRE 801, 802 (Hearsay): Testimony
24   119:1         concerns hearsay, as Mr. Peckham was
                   being questioned about the statement
25
                   that “Based on secondhand information,
26                 Simpson picked $57 million to not
                   embarrass Delta pricing.” There is no
27                 evidence to establish the source of the
                   “secondhand information” and no basis
28

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 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony        Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
                   for attributing it to any person
 4                 specifically authorized by Boeing to
 5
                   make a statement on the subject or to
                   any Boeing agent or employee acting
 6                 within the scope of the relationship.
 7   119:11-22
 8   120:5-12

 9   121:14 –
     122:4
10
     122:19-24     FRE 801, 802 (Hearsay): The statement
11                 quoted at 122:19-22 is hearsay. There
                   is no evidence to establish the source of
12                 the statement and no basis to show that
13
                   it was made by any person specifically
                   authorized by Boeing to make a
14                 statement on the subject or by any
                   Boeing agent or employee acting within
15                 the scope of the relationship.
16   124:25 –
17
     125:11

18
     125:15-17

19
     125:24 –
     126:11
20
     126:22-25
21
     127:11 –
22   128:23
23   129:15-23
24   130:13-17
25   131:3-20
26   134:15-25
27   135:4-24
28

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 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony   Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
     136:1-9
 4
     137:14-23
 5
     138:10-22
 6
     148:1-10
 7
     163:7-22
 8
     165:6-11
 9
     165:23 –
10   166:2
11   166:17-23
12   167:7-13
13   168:2-8
14   168:11-12
15   168:24 –
16
     169:10
     169:18 –
17
     170:6
18
     173:13 –
19   175:15
20   175:19 –
     176:5
21
     176:13 –
22   177:4
23   177:13 –
24
     178:6
     180:1-16
25
     181:21-25
26
     182:10 –
27
     183:15
28

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 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony    Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
     183:24 –
 4
     184:10
 5   184:20 –
 6   185:9

 7
     188:2-23

 8
     189:11 –      Designation omits half the answer.
     190:15        Plaintiffs withdraw this objection if
 9                 Defendants designate the complete
                   answer.
10
     191:10 –      Designation omits half the answer.
11   192:1         Plaintiffs withdraw this objection if
                   Defendants designate the complete
12                 answer.
13   192:8-23
14   193:21 –
15
     194:1
     194:12 –
16
     195:1
17
     195:12-23
18
     196:1-6
19
     196:17-25
20
     197:6-11
21
     197:16 –
22   198:19
23   199:21-25
24   200:8-19
25   201:5-13
26   201:14 –
     202:20
27
     204:5 –
28

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                                     #:49604



 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony       Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
     205:10
 4
     206:13-19
 5
     207:11-15     FRE 801, 802 (Hearsay) as to views
 6                 expressed by “customer community.”
 7   210:3-21
 8   212:7-23
 9   213:14-23
10   214:16 –      FRE 602/Outside the scope of Rule
     215:6         30(b)(6) designation as to 214:25-215:6
11                 - Mr. Peckham was not designated by
12
                   Boeing as a Rule 30(b)(6) witness on
                   the topic of Boeing’s efforts to assist
13                 Sea Launch in obtaining U.S.
                   government launches, and no
14                 foundation was laid for his. In fact,
15
                   Defendants moved to compel Plaintiffs
                   to provide a Rule 30(b)(6) deposition
16                 regarding Boeing’s efforts to assist Sea
                   Launch in obtaining U.S. government
17                 launches, and Judge Wistrich declined
18
                   to order Boeing to produce a Rule
                   30(b)(6) deponent on that topic.
19                 Furthermore, no foundation was laid for
                   Mr. Peckham’s testimony regarding the
20                 extent of Boeing’s efforts to help Sea
21                 Launch get U.S. government launches.
                   As Mr. Peckham was under no
22                 obligation to gather information
                   regarding what efforts Boeing made to
23
                   help Sea Launch get U.S. government
24                 launches, his limited knowledge about
                   such efforts is neither surprising or
25                 relevant in light of his lack of
                   foundation on which to testify.
26
     215:15-20
27
     216:11-15
28

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     Case 2:13-cv-00730-AB-AJW Document 855 Filed 11/16/15 Page 42 of 58 Page ID
                                     #:49605



 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony          Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
     217:12 –      FRE 602/Outside the scope of Rule
 4                 30(b)(6) designation/Calls for
     218:3
 5
                   Speculation as to 217:17-218:3 - Mr.
                   Peckham was not designated by Boeing
 6                 as a Rule 30(b)(6) witness on the topic
                   of Boeing’s efforts to help Sea Launch
 7                 obtain U.S. government launches. In
 8
                   fact, Defendants moved to compel
                   Plaintiffs to provide a Rule 30(b)(6)
 9                 deposition regarding Boeing’s efforts to
                   assist Sea Launch in obtaining U.S.
10                 government launches, and Judge
11
                   Wistrich declined to order Boeing to
                   produce a Rule 30(b)(6) deponent on
12                 that topic. Moreover, Mr. Peckham
                   testified that he did not recall the e-mail
13                 about which he was questioned (Ex.
14
                   2100) (see 215:24-216:3).
                   Additionally, no foundation was laid for
15                 his testimony regarding what Ms.
                   Schnaars may have meant in a portion
16                 of the e-mail chain (Ex. 2100) not
17
                   directed to him. As Mr. Peckham was
                   under no obligation to gather
18                 information regarding what efforts
                   Boeing made to help Sea Launch get
19
                   U.S. government launches or to learn
20                 what Ms. Schnaars may have meant in
                   her e-mail to directed to other people,
21                 his speculation concerning Ms.
                   Schnaars’ meaning is neither relevant
22
                   nor supported by proper foundation on
23                 which to testify.
24                 FRE 801, 802 (Hearsay) - The
25
                   statements quoted by counsel in this
                   line of questioning are hearsay, because
26                 no foundation was laid to establish that
                   the declarant was specifically
27                 authorized by Boeing to make a
28
                   statement on the subject of an integrated
                                             -41-
     Case 2:13-cv-00730-AB-AJW Document 855 Filed 11/16/15 Page 43 of 58 Page ID
                                     #:49606



 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony        Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
                   approach for Sea Launch and Boeing
 4                 regarding government launches, and
 5
                   there is no evidence that the statement
                   was made by the declarant concerning a
 6                 matter within the scope of the
                   employment. Furthermore, as the
 7                 proponent of the evidence, the
 8
                   Subsidiaries have the burden to
                   demonstrate that the statement quoted
 9                 by counsel from Ex. 2100 concerned a
                   matter within the scope of the
10                 declarant’s employment.” See Oki
11
                   America, Inc. v. Microtech Int'l, Inc.,
                   872 F.2d 312, 314 (9th Cir.1989).
12
     218:16 –      FRE 602/Outside the scope of Rule
13   219:22        30(b)(6) designation/Calls for
                   Speculation as to 219:1-22 - Mr.
14                 Peckham was not designated by Boeing
                   as a Rule 30(b)(6) witness on the topic
15
                   of Boeing’s efforts to help Sea Launch
16                 obtain U.S. government launches, and
                   Mr. Peckham testified that he was not
17                 familiar with the e-mail about which he
                   was questioned (Ex. 2100) (see 215:24-
18
                   216:3). Furthermore, no foundation
19                 was laid for him to testify regarding
                   Boeing’s views concerning an
20                 integrated Sea Launch/Boeing approach
                   to government launches. As Mr.
21
                   Peckham was under no obligation to
22                 gather information regarding what
                   efforts Boeing made to help Sea Launch
23                 get U.S. government launches or how it
                   viewed an integrated approach, his
24
                   limited knowledge regarding such
25                 matters is neither surprising or relevant
                   in light of his lack of foundation on
26                 which to testify.
27
     220:6-8
28

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                                     #:49607



 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony       Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
     220:18-25
 4
     221:4-11
 5
     221-19-24
 6
     222:18 –
 7   223:9
 8   224:11 –
 9   225:15

10
     226:4-19      FRE 602/Outside the scope of Rule
                   30(b)(6) designation/Calls for
11                 Speculation - Mr. Peckham was not a
12
                   Rule 30(b)(6) designee on the topic of
                   Boeing’s efforts to help Sea Launch
13                 obtain U.S. government launches or on
14
                   the topic of ELS’ position regarding Sea
                   Launch and NASA launches, and no
15                 foundation was laid for his testimony
16
                   regarding these matters. As Mr.
                   Peckham was under no obligation to
17                 gather information regarding what
18
                   efforts Boeing made to help Sea Launch
                   get U.S. government launches or to
19                 investigate ELS’ position regarding Sea
20                 Launch and NASA launches, his
                   speculation regarding the matters
21                 referenced in the e-mail that was the
22                 subject of questioning is not supported
                   by proper foundation.
23

24                 FRE 801, 802 (Hearsay) - There is no
                   evidence that the statements attributed
25                 to ELA were made by a person
26                 specifically authorized by either ELA or
                   Boeing to make a statement on the
27                 subject. Nor is there any evidence that
28

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                                     #:49608



 1    Deposition
      Testimony     Plaintiffs’ Objections to Testimony          Sustained/Overruled
 2    of Robert     Cited by the Energia Subsidiaries
      Peckham
 3
                   the statements attributed to ELA/Boeing
 4
                   were made concerning a matter within
 5                 the scope of the employment.
                   Furthermore, as the proponent of the
 6
                   evidence, the Subsidiaries have the
 7                 burden to demonstrate that the
                   statements attributed to ELS/Boeing
 8
                   concerned a matter within the scope of
 9                 the employment.” See Oki America,
                   Inc. v. Microtech Int'l, Inc., 872 F.2d
10
                   312, 314 (9th Cir.1989).
11   227:4-18      FRE 602/Calls for Speculation/Outside
12                 the scope of Rule 30(b)(6) designation -
                   Mr. Peckham was not designated by
13                 Boeing as a Rule 30(b)(6) deponent on
14                 the topic of Boeing’s efforts to help Sea
                   Launch obtain U.S. government
15
                   launches or on the topic of ELS’
16                 position regarding NASA launches, and
                   no foundation was laid for his testimony
17
                   regarding either of these matters. As
18                 Mr. Peckham was under no obligation
                   to gather information regarding what
19
                   efforts Boeing made to help Sea Launch
20                 get U.S. government launches or to
                   investigate ELS’ position regarding Sea
21
                   Launch and NASA launches, his limited
22                 knowledge about such matters is neither
                   surprising or relevant in light of his lack
23
                   of foundation on which to testify.
24
                   Assumes Facts Not in Evidence/FRE
25                 801, 802 (Hearsay) - The question
26
                   assumes that Boeing did not cooperate
                   with Sea Launch based on an out of
27                 court statement (taken out of context)
                   by an ELS representative. There is,
28

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 1    Deposition
      Testimony      Plaintiffs’ Objections to Testimony       Sustained/Overruled
 2    of Robert      Cited by the Energia Subsidiaries
      Peckham
 3
                    however, no evidence that the statement
 4                  attributed to ELA was made by a person
 5
                    specifically authorized by either ELA or
                    Boeing to make a statement on the
 6                  subject. Nor is there any evidence that
                    the statement attributed to ELA/Boeing
 7                  was made concerning a matter within
 8
                    the scope of the declarant’s
                    employment. Furthermore, as the
 9                  proponent of the evidence, the
                    Subsidiaries have the burden to
10                  demonstrate that the statements
11
                    concerned a matter within the scope of
                    the employment.” See Oki America,
12                  Inc. v. Microtech Int'l, Inc., 872 F.2d
                    312, 314 (9th Cir.1989).
13
     236:1-237:12
14

15

16
        Plaintiffs’
        Counter-
                            The Energia Subsidiaries’
17    Designations to                                          Sustained/Overruled
                                  Objections
        Peckham
18     Designations
19   10:5-10
20   17:23-18:3
21   18:8-18
22   40:4-10
23   42:19-25
24   44:17-45:3
25   48:18-21
26   52:16-19
27   54:12-17
28

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 1      Plaintiffs’
        Counter-
                          The Energia Subsidiaries’
 2    Designations to                                    Sustained/Overruled
                                Objections
        Peckham
 3
       Designations
 4   55:8-15
 5   56:12-57:6
 6   58:6-16
 7   63:20-22
 8   65:24-66:2
 9   69:9-70:8
10   71:13-72:20
11   73:4-13
12   74:4-21
13   79:2-12
14   82:22-83:7
15   86:9-10
16   86:14-17
17   87:5-88:5
18   89:4-16
19   96:14-21
20   96:25-97:17        Hearsay (FRE 802)
21   99:2-4
22   99:25-100:8
23   100:18-25
24   101:14-25
25   102:15-23
26   103:9-104:7
27   105:2-106:10
28

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 1      Plaintiffs’
        Counter-
                           The Energia Subsidiaries’
 2    Designations to                                    Sustained/Overruled
                                 Objections
        Peckham
 3
       Designations
 4   110:1-9
 5   114:8-22
 6   115:2-19
 7   117:10-20
 8   118:11-14
 9   120:11-121:13
10   122:7-17
11   122:25-123:2
12   123:22-124:2
13   124:19-24
14   126:12-15
15   130:7-12
16   138:2-4
17   158:15-17
18   159:2-9
19   166:3-15
20   180:20-22
21   181:1-20
22   185:10-23
23   186:15-188:1       186:22-188:1 – This is not
                        testimony.
24
     190:16-191:9
25
     192:2-7
26
     193:12-17
27
     194:2-10
28

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 1      Plaintiffs’
        Counter-
                          The Energia Subsidiaries’
 2    Designations to                                    Sustained/Overruled
                                Objections
        Peckham
 3
       Designations
 4   205:12-206:3
 5   210:22-25
 6   211:7-212:5
 7   214:6-15
 8   215:8-14
 9   215:24-216:3
10   217:8-11
11   219:24-220:5
12   221:25-222:7
13   225:16-226:2
14   230:25-232:16
15   232:22-233:16
16

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     Case 2:13-cv-00730-AB-AJW Document 855 Filed 11/16/15 Page 50 of 58 Page ID
                                     #:49613



 1       Deposition         Plaintiffs’ Objections to
        Testimony of      Testimony Designated by the    Sustained/Overruled
 2     Dennis Shomko            U.S. Subsidiaries
 3    1 (cover)
 4
      11:3-13:3
 5

 6    13:17-23:23
 7
      24:21-28:6
 8
      29:13-33:9
 9

10    33:17-51:3
11
      51:22-55:7
12

13
      55:11-56:22

14    57:2-59:6
15
      59:11-12
16

17    59:25-64:7

18    64:11-65:17
19
      67:4-72:12
20

21    72:16-74:22
22
      75:6-77:7
23
      77:11-14
24

25    77:22-80:9
26
      80:12-81:12
27

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                                     #:49614



 1       Deposition         Plaintiffs’ Objections to
        Testimony of      Testimony Designated by the    Sustained/Overruled
 2     Dennis Shomko            U.S. Subsidiaries
 3    82:6-92:7
 4
      92:12-93:12
 5

 6    93:24-94:2
 7
      94:6-95:16
 8
      95:19-99:25
 9

10    100:10-101:3
11
      101:7-18
12

13
      102:4-16

14    102:22-25
15
      103:4-107:12
16

17    107:16-108:11

18    108:23-109:25
19
      110:11-111:3
20

21    111:8-112:22
22
      113:9-116:2
23
      116:20-119:1
24

25    119:7-127:18
26
      127:21-130:20
27

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 1       Deposition         Plaintiffs’ Objections to
        Testimony of      Testimony Designated by the    Sustained/Overruled
 2     Dennis Shomko            U.S. Subsidiaries
 3    131:14-143:8
 4
      144:1-159:1
 5

 6    159:21-160:13
 7
      160:17-170:17
 8
      170:22-171:6
 9

10
      172:3-187:10

11
      187:15-188:14

12    190:13-23
13    191:7-199:12
14    199:24-207:4
15
      207:11-211:16
16
      212:2-221:14
17
      221:21-227:8
18
      227:10-234:9
19
      234:17-237:1
20
      238:1-245:17
21
      246:6-258:22
22
      259:5-268:14
23
      268:21-273:19
24
      273:22-280:9
25
      282:5-18
26

27    290:12-292:4
28

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 1       Deposition         Plaintiffs’ Objections to
        Testimony of      Testimony Designated by the    Sustained/Overruled
 2     Dennis Shomko            U.S. Subsidiaries
 3    292:9-15
 4
      292:24-293:13
 5

 6    293:16-294:11
 7
      294: 14-298:11
 8
      289:20-299:1
 9

10    299:3-300:20
11
      300:22-301:20
12

13
      302:1-304:16

14    Signature page
15    307:1-25
16    (certificate)

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     Case 2:13-cv-00730-AB-AJW Document 855 Filed 11/16/15 Page 54 of 58 Page ID
                                     #:49617



 1     Deposition
      Testimony of     Plaintiffs’ Objections to Testimony
 2     Vycheslav                   Designated by             Sustained/Overruled
        Vasiliev              The U.S. Subsidiaries
 3
       1-19-2015
 4   1 (cover)
 5   8:2-9:16
 6   11:7-12:8
 7   13:17-25
 8   15:13-23
 9   18:9-16
10   22:6-23:15
11   29:16-19
12   32:3-10
13   35:14-18
14   40:20-41:16
15   42:17-43:9
16   45:5-12
17   56:14-57:6
18   57:24-58:1
19   60:23-61:20
20   62:8-24
21   77:14-17
22   78:10-20
23   85:10-87:12
24   90:21-92:3
25   92:24-93:25
26   96:6-97:2
27   99:15-100:2
28

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 1     Deposition
      Testimony of       Plaintiffs’ Objections to Testimony
 2     Vycheslav                     Designated by              Sustained/Overruled
        Vasiliev                The U.S. Subsidiaries
 3
       1-19-2015
 4   100:6-101:10
 5   101:17-24
 6   105:24-106:16
 7   107:10-21
 8   108:17-109:10
 9   109:19-110:3
10   118:19-23
11   119:2-120:2
12   121:19-123:2
13   128:20-133:24
14   152:1-14
15
     (signature)
     Certificate
16

17

18        Deposition
         Testimony of
19        Vycheslav
                               The U.S. Subsidiaries’
           Vasiliev
20                             Objections to Plaintiffs’
           1-19-2015                                           Sustained/Overruled
                                Counter Designations
21        (Plaintiff’s
            Counter
22
         Designations)
23          16:3-17:6
24        134:14-135:8
25

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 1     Deposition
      Testimony of    Plaintiffs’ Objections to Testimony
 2     Vycheslav                  Designated by             Sustained/Overruled
        Vasiliev             The U.S. Subsidiaries
 3
       1-20-2015
 4   157 (cover)
 5   164:13-173:22
 6   174:10-176:14
 7   177:1-178:23
 8   179:17-180:25
 9   204:4-209:12
10   216:6-17
11   219:23-220:8
12   220:11-16
13   226:7-228:1
14   228:13-229:16
15   229:21-25
16   231:17-233:8
17   236:13-21
18   237:19-238:2
19   239:16-240:2
20   246:21- 247:12
21   248:1-8
22   251:4-252:7
23   253:17-254:10
24   258:13-22
25   261:16-263:9
26   267:9-24
27   268:4-8
28

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 1     Deposition
      Testimony of    Plaintiffs’ Objections to Testimony
 2     Vycheslav                  Designated by             Sustained/Overruled
        Vasiliev             The U.S. Subsidiaries
 3
       1-20-2015
 4   268:16-17
 5   270:14-271:15
 6   275:2-8
 7   275:16-276:25
 8   298:17-299:24
 9   300:1-11
10   301:2-303:17
11   308:1-309:4
12   315:1-14
13
     (signature)
     Certificate
14

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 1
            Deposition
 2         Testimony of
            Vycheslav
 3                            The U.S. Subsidiaries’
             Vasiliev
                              Objections to Plaintiffs’
 4           1-20-2015                                     Sustained/Overruled
                               Counter Designations
            (Plaintiff’s
 5            Counter
 6
           Designations)
         179:3-10
 7
         181:20-25
 8
         214:17-216:5
 9
                           Objections:
10                         Lacks foundation (FRE 901);
         233:19-25
11
                           improper lay witness opinion
                           (FRE 701)
12
         250:14-251:3
13
         303:18-305:7
14

15
     DATED: November 16, 2015                DENTONS US LLP
16

17                                           By__/s/ Steven A. Velkei_____
                                                        Steven A. Velkei
18
                                             Attorneys for Defendants
19                                           ENERGIA LOGISTICS LTD. AND
                                             ENERGIA OVERSEAS LLC
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     85535753
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